Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 1 of 13




   EXHIBIT 64
       Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 2 of 13




                                                 Table of Contents

                                                                                                                   Page

HEAT Trusts Exception Letter (June 19, 2009) ........................................................................... 1

MABS 2005-FRE1 Exception Letter (June 4, 2009) .................................................................... 6

MABS 2006-AM2 Exception Letter (June 4, 2009) ..................................................................... 8

MABS 2006-NC2 Exception Letter (June 4, 2009).................................................................... 10
Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 3 of 13




             HEAT Trusts Exception Letter
                  (June 19, 2009)




                                1
               Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 4 of 13




          Corplllate Trust.Seniloos
          EP-MN-ws:m
          6-0 Livingston Avenue
          SI. Paul, MN 55107-2292




      June 19·lh, 20(}9



      Credit Suisse FirstBoston LLC
      Attn: Kevin Steele
      B.lcvcn Madison Avenue, 4 th Floor
       New York, NY 10010

       DLJ Mmtgage Capital~ inc.
       Eleven Madison Avenue, 4 111 ¥ioor
      New York~ NY 10010


               Re:        Notice ofMrutgage Loan FHe Exception:-:;


       Dear Sir/Madam:

       This notice is being pmvi<l~d in accordance with Section 2.02 of the Pooling and Serv·cing
       Agreement for the transaction~ r~lbrenced 011 the attached Schedule A . Under this s,ection the Tmsl~
       is required to provide written notice Lo lhe:, Depositor~ the 8cllcr, and each Servicer of all exceptions
       jdcnti.ficd with rcspc.ct to the Mortgnge Lom1 FH1;s which do not meet the requirements of Section
       2.01.. As required under the Agreement the SeUeI is obli:gaied to c-onect or cnre aU the exceptions
       kleotlfie<l (as lis:led on the attached exception report). Any Mortgage Louns wilh malerla defc.ct(l
       which ·emuin out~tanding after the cure pcl'iod has elapsed must.be Iepmdmse<l or subsU uted f'or hy
       the Selle.r on the ne t nisbibution Date a<; provided in Section 2.03.

       If you have any questions regar<iing I.his. notice nr requi.rcments related to repurchases or
       suh.<;titulionsLpkasc call me at 651-495 w2124. Any questions regarding sped fie c.: ccptions shanJd be
       din.::cte<l lo WHHam Dolu· at La.Salle Hank at 847-766-6444, Elfaabeth Casanova at RONY al 972-
       785-5362 u:nd Surali Wood..:; al Wells Fargo Bank at 612~667-6688.

       Sincerely,
         ~A~t\.t,e-~ ----J
       Kuri Anderso11
       Account Adm..inistrator




                                                           2
CONFIDENTIAL                                                                                   USBCOMMERZ00951329
               Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 5 of 13




       cc:
       Chase Manhattan Mortgage Corp
       l 0790 Rancho Bernardo Rd.
       San Dlego, CA 92127

       Fremont Investment & Loan
       Attn: SVP - Finance
       l 75 N. Riverview Dr.
       Anaheim) CA 92808

       Oc~n Federnl Bank
       AUn: Secretary
       1675 Palm llcach Lakes DJ.vd.
       West Palm Beach, FL 33401

       PNC Rank N.A.
       AUn: PNCCS Manager
       2730 Liberty Ave.
       Pittsburgh, PA 15 222

       One PNC Plar.a ···· 21 ~, Floor
       Aun: Chiel"Counse1 Consumer Ranking
       249 Fillh Ave
       Pittsburgh. PA 15 222

       Select Portfolio Scrvici ng
       38) S South West Temple
       Salt Lake Chy, UT 84115

       Washington Mutual Mortgage Securities Corp.
       75 No1thJ<'airway Drive
       Vcmon HiJ ls) 1L 6006 l

       Wells Fargo Home Morlgagei Tnc.
       1 Home Campus, MAC X2401-042
       Des Moines, IA 50328

       Wilshire Credit Corp
       l 4523 SW Millikin Way} Sui le 200
       Rea verton, 0 R 97005




       Data file available to Scrviccrs at their request.

                                                            3
CONFIDENTIAL                                                               USBCOMMERZ00951330
               Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 6 of 13




                                                  Sclicdulc A


       Tn1st              Custodian
     . HEAT 2002-1        LaSalle, BONY
        HEAT 2002-2       LaSalle
        IIEAT2002-3       LaSalle
        IIEAT2002-4       LaSalle
      . HEAT 2002-5       LaSalle
        HEAT2003-l        LaSalle
        HEAT2003-2        LaSalle
        HRAT2003-3        LaSalle
        HEAT2003-4        LaSalle
        IIEAT2003n5       LaSalle
        IIEAT2003-6       LaSalle
        HEAT2003-7        LaSalle
       HEAT20O3-8         LaSaHe
       HEAT 2004-1        T.uSalle
       HEAT2004-2         LaSaHe
       IIEAT2004~3        LaSalle
       IIEAT2004-4        LaSaJlc
       HEAT2004~5         LaSalle
       HEAT2004-6         T,aSall~
       HEAT2004-7         LaSaJle
       HEAT 2004-8        LaSalle
       HEAT 2005-1        LaSalle
       IlliAT 2005-2      LaSalle, BONY, Wells
       HEAT 2005-3        LaSalle~ BONY, WeHs
       HEAT 2005-4        T,aSa1le~ RONY, WeUs
       HEAT 2005-5        LaSalle, BONY, WeHs
       HEAT 2005-G        LaSalle, DONY, WeUs
       IIEAT 2005-7       LaSa11c, UONY, WcHs
       HEAT 2005-8        LaSalJc~ BONY, WcHs
       HEAT 2005-9        l ,aSalle~ BONY, WeHs
       HRAT 2006-l        LaSalle, RONY, Wells
       HEAT2006-2         LaSalle. BONY, Wells
       IIEAT2006-3        LaSalle. DONY, Wells
       IIEA'f 2006-4      LaSalle~ BONY) WcHs
       HEAT2006~5         l,aSallc, BONY~ Wells
       HEAT2006-6         T,aSalle, Wells
       HRAT2006-7         LaSalle, Wells
       IIEAT200Gn8        LaSalle, Wells
       HEAT2007-l         LaSalle, Wells
       HEAT2007-2         ]..asane, wens
       HEAT2007-3         laSaHe, Wells



                                                   4
CONFIDENTIAL                                                               USBCOMMERZ00951331
               Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 7 of 13




       IIE"MT2005-5       LaSaJ!c, BONY, Wells
       IIEMT 2006- l      L.aSaHc, BONY, Wells
       llliMT 2006-2      f .uSaHe, RONY
       HEMT2006-3         I ..aSaHt:, Wells
       HEMT2006-4         LaSalle, Wells
       HEMT 2006-5        LaSalle
       HEMT 2006·6        LaSaJ1c
       IIIThiT 2007-1     La8aHc
       llliMT 2007-2      1. .aSal!c

       CSFB 2001-HEl 6    BONY
       CSFR 2001-HR 17    BONY
       CSFR 2001 -IIE20   DONY
       CSFB 2001-llli22   llONY
       CSFll 2001-HE25    BONY
       CSFU 200l-HE30     BONY
       CSFB 20O2-HEI      RONY
       CSFB 2002-HE4      LaSaJle, BONY
       CSFH 2002-IIEI I   LaSalle, DONY
       CSFB 2002-IIE16    LaSalle, UONY
       CSFD 2004-AA 1     LaSalle
       CSfl3 20O5-CFl     T,aSalle~ RONY
       CSFB 2005-FTXl     LaSalle
       CSFR 2005-AGEl     BONY
       CSFB 2006-CFI      LaSalle, llON Y
       CSFD 2006-CJ,2     BONY




                                                 5
CONFIDENTIAL                                                               USBCOMMERZ00951332
Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 8 of 13




          MABS 2005-FRE1 Exception Letter
                  (June 4, 2009)




                                6
                  Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 9 of 13




           Ciorpora!e Trust Sarvlcas
           EP-MN·WS30
           60 L.Mn,gston Avenue
           St. Paul, MM 55107-2292




     Mortgage As.set Securitizatioa Trnn::,.actions. be.
     1285 A venue ofthc Americas
     New York, New York 10019


     HrnnEq Servici ng Co.rpo.rmion
     4837 Watt Avenue
     North High.lands, CA 9 5660

          Re: Pooling and Servicing Agreement. is dated and effectivt: a::. of OV'eruber 1, 2005, among
          Mortgage Asscf Sc.euritization Transactions, Inc., as Depositor, UBS Real Estate Securi.Lies
          Inc.~ as Sdler, HomEq Servicing Corporatiou. as Servicer and U.S .. Dank National
          As.<iodalion; as Ttuslee.


                         l\iIASTR Asset Backed Securities T1·ust 2005-FREl
                        Mortgage P:.ss-'I'hrough Certificates, Series 200~5:-FREl


     Dear Sir/Madam:

     1 his notice is bein.g provided in accor<l.mce with St.:clion 2.02 of the Pooling and Scrviciog ,A,grocment for
     I.he above--reforonced transaction. Uudcr this section the Trustee is required to provide written notice to
     the Depositor~ the Seller and the Service,r of al1 exceptions identified with respect to the Mortgage T..oan
     Files which do not meel the rcquircmcuts o Section. 2.0 T. As required under the· Agreement, the Seller
     lw.1l 90 days from the date of this notice to correct or cure all the exceptions iden.tilled (as 1is.led on tb.c
     aHacbed exception. report). A1 y Mortgage J,oans w ith matefial defects. which are still outstanding after
     the 90 day cure period has ,e lapsed must be repurchased or suhstih.1.te<l for by the Seller on tho next
     Distribution Date m, provided in Section 2.03.

     ff you have any questionsrcgardi1lg lhlsnoiicc or requirement'> related to repurchases or substitutions>
     please call me at 65 L-495-39$8 , Any questions regai:dingspecific exceptions should be lJir.ec:ted lo
     Jennifer Steiner at 651-695-5875 ai Doctiment Ci,s:tody Scrv.. cc.~.

     Sincerely,



     Erin Sandstrom
     'frust Offioer

     Enclosure




                                                                 7
CONFIDENTIAL                                                                                              USBCOMMERZ00944806
Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 10 of 13




           MABS 2006-AM2 Exception Letter
                   (June 4, 2009)




                                 8
             Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 11 of 13




          Corporate Trust Sorvlcos
          EP-1 N- S30
          60l" 9
          S Paul, Pi 55107-2292


     June 4 2009

       {ort age Asset Securitizalion Transactions, Inc.
      1285 Avenue oflhc Americas
       cw York, New York 10019


     Wells Fargo Bank, N.A.
     9062 Old Annapolis Road
     Columbia, Maryland 21045

          Re: Pooling aml S«!rvid.11g Agreement, is dated and t:ITtctivc as of July I, 2006 among Mortgage
          As et Securiti:1.ation Transactions, Inc. a-; Dep . itor 13S Real Estate Securities Inc. as
          Seller, Wells Fargo Bank, A as Master ervker and U.S. Bank ational ··ocialiun, as
          ·1·rostee.

                         t\lASTR     ct Racked Securities Tm t 2006-Al\'JJ
                        Mortgage Pass-Through Certificate., Series 2006-. M2


     D ar Sir/Madam:

     1 bis n ticc i being provided in accor<laucc with Section 2.02 of the Pooling am.I Scrvici11g Agreement for
     the shove-referenced transaction . Under this section the 'frnslcc is required to provide written notice lo
     the DepusHor, the Seller and the St:rvkcr of all exceptio ns identified with re-specl to lhc Mortgage T.oan
     Files wh ich do not meet the requirements of Section 2.01. As requi red under the Agreement, the Sdkr
     has 90 days from tl1c date of this notice lo correct or cure a ll the exceptions idenlific<l (as !isled on the
     attached exception report). Any Mortgage Loons with material <lcfc Is Nhich are still outstanding after
     t.lte 90 day cure p riod has elapsed musl be repurchased or suhstituted for by the Seller oo the next
     Di tribution Date as provid c.1 in cction 2 .03 .

     If ou have any questions regarding this notice or requirements n:latcd lo rcpurchase1- or substitutions
     please call me al 65 l-495-3988. Any questions re ardin specific exceptions s.houl<l be directed to
      Chri ophcr Corcoran at 714-247-6045 at Dcut.che Bank         ational rusl Company Document Custodian.

       incer 1 ,



      Erin Sand lrom
      Trust Officer
                                                                                                 JL EXHIBIT
      Enclosucc
                                                                                                       (3d""


                                                               9
CONFIDENTI AL                                                                                           USBCOMMERZ00944807
Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 12 of 13




           MABS 2006-NC2 Exception Letter
                   (June 4, 2009)




                                10
             Case 1:16-cv-04569-WHP Document 320-64 Filed 10/02/19 Page 13 of 13




           Corporate Trust Scrvlcos
           EP-MN-WS30
           60 Livingston Avonuo
           SL Paul, MN !i!i 107-2292

     .Junc 4 2009

     Mortgage Asset Sccuriti7.ation Transactions b1c.
     1285 Avenue of the America:;
     New York, New York I0019


     Wells Fargo Bank, N.A.
     9062 Oki Annapolis Road
     Colwnbia, Maryland 21045

             Re: Pooling and Servicing .t\grccmcul, is <lated and eftcctivc as of September I, 2006, among
             Mo11gagc Asset Securitin1lion Transac.~tions, Tnc. , as Depositor, UUS Warbmg Real
             .Estate Sccmitics Inc., as Seller, Well· Fargo Rank, 1 .A., as Master Servicer and U.S.
             Bank National Association as Tmstee.

                         MASTR Asset Backed Securities Trust 2006-NC2
                        Mortgage Puss-Through Certificates. Series 2006-NC2


     Dear Sir/Madam:

     This notice i:; being provide-<! in accordance with Section 2.02 of the l'ooling am! Servicing Agreement for
     the al)ove-referenced transaction. Unc.ler lhis si.;clion the Trustee is required to provide written notice to
     the Depositor, Lhe Seller and tltc Servicer of al I exceptions identified with respect lo the Mori gage Loan
     Files wh ich do not meet the requirements of Section 2.0 l. A required uncfcl' the Agreement, the Seller
     has 90 days from the <late of this notice to correct or cure all the exceptions i<knlilled (as listed OJI the
     allachcd exception 1-e1)01t). Any Mortgage Loans with material dcfcct,~;which arc still outstanding after
     the 90 day cure period has cJapscd must bo repmchased or substituted for by lhe Seller on the next
     Distribution Date a" provided in Section 2.03.

     If you have any questions regarding this notice or n:quin:mculs related to rcpurchas s or substitutions,
     please call me at 651-495-3988. Any question. rcgatding specific exceptions should be <lin:cte<l lu
     Christopher Cc.xcoi-an at 7 l 1l-247-60 1i5 at Deutsche Bank National Trust Company Document Custodian .

     Sincerely,



     Erin Sandstrom
     Trnst Officer

     Endosurc

                                                                             g    r9-   EXHIBIT   ~
                                                                             ~




                                                               (1~           l
                                                                             J/
                                                                                         /LIO      -
                                                                                 i
                                                               11
CONFIDENTIAL                                                                                             USBCOMMERZ00944809
